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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                               ROANOKE DIVISION

 UNITED STATES OF AMERICA,                  )       Case No. 7:22-cr-00001
                                            )
 v.                                         )       MEMORANDUM OPINION
                                            )
 JERALD GRAY,                               )       By:    Hon. Thomas T. Cullen
                                            )              United States District Judge
               Defendant.                   )


        Defendant Jerald Gray, who is currently charged with unlawful possession of child

 pornography in violation of 18 U.S.C. § 2252(a)(4)(B), moves to suppress evidence obtained

 by federal agents during a search of computers in his home. This search was conducted

 pursuant to a warrant issued by a federal magistrate judge. In support of his motion, Gray

 contends that the lead agent—and search warrant affiant—omitted specific details from the

 probable cause affidavit about an algorithm that she had utilized to determine that Gray’s

 computer had requested three images of child pornography from the computer network

 known as Freenet. Specifically, Gray contends that this omission was intentional because the

 algorithm, which is discussed at length in the affidavit, “appears farcical.” (Def.’s Mot. to

 Suppress at 3 [ECF No. 84].) But Gray provides no evidence to back up this startling claim.

 In addition, Gray contends that the affidavit, in its current form, fails to establish probable

 cause to justify the search. As discussed below, both arguments lack merit, and the court will

 deny the motion.

                                      I.        BACKGROUND

        Magistrate Judge Robert Ballou signed the warrant at issue on December 3, 2021, based

 on the 36-page affidavit of Special Agent (“SA”) Kathryn Weber, a veteran FBI agent with
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 experience and specialized training investigating crimes against children. (See Gov.’s Ex. 1 ¶ 1

 [ECF No. 85-1].) As set forth in SA Weber’s affidavit, her investigation involved Gray’s

 alleged use of Freenet to obtain child pornography. Freenet, a peer-to-peer file-sharing

 network that is designed to afford anonymity to its users, was developed by computer scientists

 at the advent of the Internet age. It is well known—both to consumers of child pornography

 as well as to law enforcement officials, who routinely conduct undercover surveillance of

 suspected child pornography on this public forum. 1

         According to SA Weber, a Freenet user who downloads the software and elects to

 peruse the network in its default “Opennet” mode is automatically connected to a fixed

 number of “peers,” or other computers hosting the same software in Opennet form.

 Although this Freenet user can see the Internet Protocol (“IP”) addresses of his peers, their

 identities are otherwise unknown to him. (Id. ¶¶ 8–9.) The number of peers a particular

 Freenet user has at any given time varies and is determined by, among other things, Internet

 speed. (Id. ¶ 8, n.1.) As a condition of using the Freenet software, each user agrees to dedicate

 a portion of his computer’s hard drive to store small pieces of encrypted files called “blocks.”

 (Id. ¶ 9.)



 1 Gray does not dispute the government’s characterization, as detailed in the search warrant affidavit, of how

 Freenet works or the intricate process by which files are transferred among its users. Indeed, numerous courts
 have made nearly identical factual findings about the design and inner workings of Freenet. See, e.g., United
 States v. Weyerman, No. 21-1896, 2022 WL 1552997, at *1 (3d Cir. May 17, 2022) (“Freenet attempts to hide the
 identity of the original requester by making it difficult to differentiate whether a request for a piece that comes
 in from a peer originated with that peer . . . or whether that peer was simply forwarding a different peer’s
 request.” (cleaned up); United States v. Dickerman, 954 F.3d 1060, 1064 (8th Cir. 2020) (“Freenet’s ability to hide
 what a user is requesting from the network has attracted persons that wish to collect and/or share child
 pornography files.”) (cleaned up); United States v. Pobre, No. 8:19-CR-348-PX, 2022 WL 1136891, at *2 (D. Md.
 Apr. 15, 2022) (finding that Freenet configures and stores content in such a way that no single computer can
 be said to possess any given file, until a user downloads a manifest key that indexes all blocks associated with
 the file, by linking computers to each other and breaking up each uploaded file into encrypted blocks).
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        When a Freenet user uploads a file onto the network, the software breaks up that file

 into blocks and disseminates these blocks across the “Freenet network of peers.” (Id. ¶ 9.) To

 download a particular file from the network, a Freenet user must first obtain a key—a series

 of letters, numbers, and special characters. These keys, along with descriptions of the

 encrypted files, can be obtained from Freenet’s message boards and myriad other sources. (See

 id. ¶ 9–10.)

        According to SA Weber’s affidavit, once a user obtains the key for a desired file, he can

 begin the downloading process. (Id. ¶ 10.) Because encrypted blocks of the requested file are

 scattered across the entire network, this process involves sending numerous requests for these

 blocks—first, to the requestor’s peers and, if they don’t have the requested blocks, to the peers

 of the requestor’s peers. (Id. ¶ 11.) As the affidavit explains, “Rather than request all of the

 file pieces from a single peer, requests for file pieces are divided up in roughly equal amounts

 among the user’s peers. (Id.) If a user’s peer does not have the particular requested pieces in

 its storage, that peer will then divide up and ask its peers for the pieces, and so on.” (Id.)

        Freenet attempts to conceal the identity of the peer who originally requested the file by

 making it difficult “to differentiate whether a request for a piece that comes in from a peer

 originated with that peer (i.e., the peer was the ‘original requestor’ of the file), or whether that

 peer was simply forwarding a different peer’s request.” (Id. ¶ 13.) It does this by “randomizing

 the initial number of times a request can be forwarded from one peer to another to be either

 17 or 18. (Id.) Without this randomization, any time a user received a request for a piece of a

 file that could be forwarded 18 times, the user would know that its peer was the original

 requestor.” (Id.)


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          Given these unique anonymizing features and the software’s wide availability, Freenet

 is rife with child pornography. It is no surprise then that law enforcement has been actively

 monitoring this platform for the past 10 years, using undercover computers running modified

 Freenet software and logging requests for documented images of child pornography. (Id. ¶

 20.) Professors from the University of Massachusetts at Amherst and the Rochester Institute

 of Technology substantially aided these efforts by developing an algorithm that predicts, with

 better than 98 percent accuracy2, whether a Freenet request for blocks of a file is the original

 request or merely a relayed request.3 The details of this complex mathematical formula are

 beyond the court’s complete comprehension, but, as the government explains, the algorithm

 makes logical deductions based on publicly available data associated with each request—

 namely, the number of the requester’s peers and the number of requests that requestor made

 to the undercover computer.4 (Gov.’s Resp. to Mot. to Suppress at 3 [ECF No. 85].) Simply

 put, because Freenet’s default settings divide original requests almost evenly among the

 requestor’s peers, and because subsequent, or relayed, requests from those peers involve a




 2 See Pobre, 2022 WL 1136891, at *3 (“the algorithm ascertains with over 98% probability whether the identified

 block request came from an original requesting node”); United States v. Sigouin, 494 F. Supp. 3d 1252, 1268 (S.D.
 Fla. 2019) (finding a false positive rate of 2%); United States v. Dickerman, 954 F.3d 1060, 1063 (8th Cir. 2020)
 (“The algorithm allows law enforcement to distinguish between requests sent from an original requester and
 requests forwarded by a relayer.”).

 3 (See Brian N. Levine & Brian Lynn, A Forensically Sound Method of Identifying Downloaders and Uploaders in Freenet,

 Nov. 9–13, 2020 CCS 1497, 1500 (2020) [ECF No. 85-3].) The algorithm is contained in this peer-reviewed
 and publicly available academic paper.

 4 The algorithm’s principal developer, Dr. Brian Levine, recently testified in two cases about how the algorithm

 works. See United States v. Weyerman, Crim. No. 19-88 (E.D. Pa. Jan. 3, 2020), aff’d, No. 21-1896, 2022 WL
 1552997, at *1 (3d Cir. May 17, 2022); United States v. Dickerman, No. 416CR00258HEANAB1, 2017 WL
 11485604, *1 (E.D. Mo. Sept. 26, 2017), report and recommendation adopted, No. 4:16CR258 HEA, 2018 WL
 10228437 (E.D. Mo. Apr. 27, 2018), aff’d, 954 F.3d 1060 (8th Cir. 2020).

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 much smaller number of blocks, the algorithm accurately deduces whether a particular

 computer is the likely original requestor. (See id. at 3.) And because every Freenet user can see

 the IP addresses of his peers, law enforcement users can record the IP addresses of peers that,

 based on the algorithm, are likely original requestors of known child pornography.

        According to SA Weber’s affidavit, this is precisely how Gray landed on the FBI’s

 radar. In July and August of 2021, a computer with an IP address that agents later determined

 was registered in Gray’s name and associated with his residence in Covington, Virginia, made

 three separate requests for blocks of three files known by law enforcement to be child

 pornography. (Id. at 4; Gov.’s Ex. 1 ¶¶ 26-29.) Unbeknownst to this user (allegedly Gray), one

 of his peers on each of these three occasions was an FBI computer running Freenet software.

 Based on the number of blocks requested, the total number of file blocks required to

 reconstruct the file images, and the number of peers the target user had on each occasion, SA

 Weber, relying on the algorithm, determined that the user likely “was the original requestor of

 each of the described files.” (Gov.’s Ex. 1 ¶ 26.) The agent then applied for a search warrant

 for Gray’s residence and any electronic devices located there. Law enforcement executed this

 search warrant in early December 2021, and that search uncovered a plethora of child

 pornography on Gray’s computer. (Gov.’s Resp. to Mot. to Suppress at 4.)

                                          II.    ANALYSIS

         As noted above, Gray essentially challenges the search on two grounds. First, he

 contends that the affiant withheld “key information necessary for the Magistrate to conduct

 an independent assessment of probable cause.” (Def.’s Mot. to Suppress at 5.) In support of

 this argument, Gray asserts that the algorithm at issue “appears farcical,” and that the


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 government duped the magistrate judge into believing that it is based on valid and reliable

 mathematical principles. Gray, in other words, argues that the government has committed a

 so-called Franks violation, justifying an evidentiary hearing.5 Second, Gray asserts that the

 affidavit, on its face, fails to establish probable cause. Specifically, he argues that the affidavit

 lacked detailed information about how the algorithm led law enforcement to the conclusion

 that his computer was the original requestor of the illicit files at issue.

     A. Alleged Franks Violation

         “An accused is generally not entitled to challenge the veracity of a facially valid search

 warrant affidavit.” United States v. Allen, 631 F.3d 164, 171 (4th Cir. 2011). But a Franks hearing

 “provides a criminal defendant with a narrow way to attack the validity of an affidavit.” United

 States v. Moody, 931 F.3d 366, 370 (4th Cir. 2019). To obtain an evidentiary hearing, a defendant

 must make a “substantial preliminary showing” that the government made a false statement

 in the warrant affidavit; that the false statement was made knowingly and intentionally; and

 that it was material—i.e., that it was essential to the finding of probable cause.6 United States

 v. White, 850 F.3d 667, 673 (4th Cir. 2017) (citing Franks, 438 U.S. at 155–56). “The first

 required showing, of falsity, cannot be conclusory and must rest on affidavits and other

 evidence.” Moody, 931 F.3d at 370. In other words, the defendant “cannot rely on purely

 subjective disagreement” over how the affidavit characterizes the facts; he must put forth



 5 These hearings are named for the Supreme Court’s decision in Franks v. Delaware, 438 U.S. 154 (1978).


 6 Franks also protects against intentional or reckless omissions of material facts from search warrant affidavits.

 “When a defendant relies on an omission, this heavy burden is even harder to meet.” United States v. Haas, 986
 F.3d 467, 474 (4th Cir. 2021). The defendant must make a substantial preliminary showing that (1) law
 enforcement made an omission; (2) it made the admission knowingly or recklessly; and (3) the inclusion of the
 omitted material would have defeated probable cause. Id.
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 actual evidence “showing that the statements at issue are objectively false.” Id.; see also Franks,

 438 U.S. at 171 (the defendant’s “attack must be more than conclusory and must be supported

 by more than a mere desire to cross-examine”).

        Gray’s contention that the algorithm “appears farcical” implies that SA Weber lied

 when she represented that the algorithm helped her to determine that he was the original

 requestor of files containing known child pornography. But one can also read Gray’s

 argument to suggest that the government is guilty of making a material omission—namely that

 it intentionally omitted certain (unspecified) details about the algorithm that, if disclosed,

 would have defeated probable cause. Whether Gray is alleging falsity or omission makes no

 difference; he has put forth zero evidence to support either claim. Specifically, he has not

 proffered or cited any evidence, through affidavits or otherwise, that challenges any of the

 detailed factual assertions and explanations in the affidavit about the Freenet algorithm

 generally, or how it was applied in this case. Accordingly, Gray’s contentions are paradigmatic

 of the kind of conclusory allegations that courts have long held are insufficient to trigger an

 evidentiary hearing on the validity of a search warrant. See, e.g., Haas, 986 F.3d at 477 (“Because

 Haas failed to make a substantial preliminary showing that the agent acted with the requisite

 intent in omitting Sarah’s criminal history from the warrant affidavits, we affirm the district

 court’s denial of Hass’s requests for a Franks hearing.”); United States v. Seigler, 990 F.3d 331,

 344 (4th Cir. 2021) (“In short, there’s no indication that this representation actually was false

 or misleading, that it was knowingly or recklessly so, or that it was the basis of the court’s

 probable cause finding.”); Moody, 931 F.3d at 374 (“A defendant must meet a high bar before

 he may challenge the veracity of a facially valid search warrant.”). The court will therefore


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 deny Gray’s motion, insofar as he seeks an evidentiary hearing based on an alleged Franks

 violation.

     B. Probable Cause

         Gray also argues that the affidavit, in its original form, failed to establish probable cause

 for the search. The government must obtain a search warrant supported by probable cause

 prior to searching an individual’s residence. See U.S. Const. amend. IV; Fernandez v. California,

 571 U.S. 292, 298 (2014). “Probable cause requires only ‘a fair probability,’ and not a prima

 facie showing, that ‘contraband or evidence of a crime will be found in a particular place.’”

 United States v. Bosyk, 933 F.3d 319, 325 (4th Cir. 2019) (quoting Illinois v. Gates, 462 U.S. 213,

 238 (1983)). Probable cause, in other words, is “not a high bar,” and law enforcement officers

 are not obligated to “rule out a suspect’s innocent explanation for suspicious facts.” District of

 Columbia v. Wesby, 138 S. Ct. 577, 588 (2018). This court reviews a magistrate judge’s decision

 to issue a search warrant “with great deference, asking only whether the judicial officer had a

 substantial basis for finding probable cause.” United States v. Blakeney, 949 F.3d 851, 859 (4th

 Cir. 2020) (cleaned up). In so doing, the court only considers the facts contained in the warrant

 affidavit.7 Bosyk, 933 F.3d at 325 (citing United States v. Lyles, 910 F.3d 787, 791 (4th Cir. 2018)).

         As noted above, Gray contends that the affidavit did not establish probable cause

 because it did not explain precisely how the Freenet algorithm pointed to him as the original

 requestor of three files containing known child pornography. Although the affidavit does not


 7 Because Gray is not entitled to an evidentiary hearing under Franks, and the court assesses his attendant

 probable-cause challenge solely based on the information presented in the affidavit, the court elects not to hold
 a hearing on this motion. In sum, the parties’ arguments about the sufficiency of the information contained in
 the affidavit are adequately set forth in their written submissions, and oral argument would not aid the decisional
 process.

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 describe, with mathematical details, how the algorithm applies to the specific file requests in

 this case, this does not mean that it lacked probable cause. As noted above, the affidavit

 discussed, in detail, the development and general operation of Freenet, including how files are

 broken up and encrypted, and how users request and transfer file blocks among their first-

 and second-line peers. In addition, SA Weber explained how a computer directly linked to the

 defendant’s IP address made three separate requests for files containing known child pornography.

 The affidavit further described the Freenet algorithm, including when and how it was

 developed, how it works in the typical case, and its general reliability. Specifically, the affidavit

 represented that the algorithm is highly accurate based on the results of a peer-reviewed

 study—a copy of which SA Weber noted was available for the magistrate judge’s review upon

 request—and the agents’ personal knowledge of its successful use in other cases. Finally, the

 affidavit explained that, after applying the algorithm’s methodology to “the number of

 requested file pieces, the total number of file pieces required to assemble the file, and the

 number of peers that the user had,” she concluded that Gray was likely the original requestor.

        This information, considered in its totality, undoubtedly established a fair probability

 that computers associated with Gray’s IP address would contain evidence of child

 pornography. And this is all that was required to justify the issuance of a search warrant.

 Although SA Weber could have provided the specific details of her algorithmic reasoning or

 attached a copy of the peer-reviewed study as an exhibit to the affidavit, her failure to do so

 does not change the outcome. Indeed, the detailed information and explanation that she did

 provide was more than sufficient to clear the relatively low bar of probable cause. See Bosyk,




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  933 F.3d at 332 (cleaned up) (“A warrant application is judged on the adequacy of what it does

  contain, not on what it lacks, or on what a critic might say should have been added.”).

     C. Good Faith Exception

         Even if SA Weber’s affidavit did not support Magistrate Judge Ballou’s finding of

  probable cause, the good faith exception would prevent the court from excluding the evidence

  of child pornography found on Gray’s computers. The exclusionary rule “bars the prosecution

  from introducing evidence obtained by way of a Fourth Amendment violation.” Davis v. United

  States, 564 U.S. 229, 232 (2011). But under the good faith exception, “evidence seized in

  reasonable, good-faith reliance on a search warrant that is subsequently held to be defective is

  not subject to suppression, despite the existence of a constitutional violation.” United States v.

  Brunson, 968 F.3d 325, 334 (4th Cir. 2020) (cleaned up). Courts have recognized four scenarios

  when the good faith exception will not apply: (1) when the magistrate judge is misled by

  information in a search warrant affidavit that the agent knew was false or would have known

  was false but for the agent’s reckless disregard for the truth; (2) when the magistrate judge

  “wholly abandoned his judicial role”; (3) when the affidavit is so “lacking in indicia of probable

  cause as to render official belief in its existence entirely unreasonable”; and (4) when the

  warrant is “so facially deficient—i.e., in failing to particularize the place to be searched or the

  things to be seized—that the executing officers cannot reasonably presume it to be valid.”

  United States v. Doyle, 650 F.3d 460, 467 (4th Cir. 2011).

         Gray only makes passing reference to the good faith exception, asserting, with little

  explanation, that it should not apply. Although vague, Gray suggests that because SA Weber

  did not include the algorithm itself within the body of the search warrant affidavit—the same


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  algorithm that he also baldly asserts “appears farcical”—the government intentionally misled

  Judge Ballou. This suggestion that the first exception applies misses the mark. As explained

  above, Gray failed to offer even a scintilla of evidentiary support for his assertion that the

  Freenet algorithm is unreliable, let alone farcical. Without such evidence, the court is

  constrained to conclude that SA Weber’s detailed assertions about the algorithm and its

  application in this case are true and correct and, thus, that the magistrate judge was not misled.

  Accordingly, the good faith exception would apply even if the warrant at issue had lacked

  probable cause.

                                         III.   CONCLUSION

         For these reasons, the court will deny Defendant’s motion.

         The clerk is directed to forward a copy of this Memorandum Opinion and

  accompanying Order to all counsel of record.

         ENTERED this 20th day of October, 2022.



                                                         /s/ Thomas T. Cullen_________________
                                                         HON. THOMAS T. CULLEN
                                                         UNITED STATES DISTRICT JUDGE




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